       Case 1:13-cr-00085-LJO-BAM Document 203 Filed 08/16/16 Page 1 of 1



 1
                                UNITED STATES DISTRICT COURT
 2
                                 EASTERN DISTRICT OF CALIFORNIA
 3

 4    UNITED STATES OF AMERICA,                         CASE NO. 1:13-CR-00085-(2)-LJO-BAM
 5                              Plaintiff,
                                                        ORDER REFERRING TO FEDERAL
 6           v.                                         DEFENDER’S OFFICE AND SETTING
                                                        INITIAL BRIEFING SCHEDULE
 7    JOE ANTHONY GOMEZ FELIX,
 8                              Defendant.              (ECF No. 200)
 9

10          On July 21, 2016, Petitioner Joe Anthony Felix filed a pro se “Motion to Vacate Set Aside or
11   Correct Sentence Under: 28 USC § 2255” (ECF No. 200), pursuant to Title 28, United States Code,
12   Section 2255 (“Section 2255 Motion”), in which he asserts that Johnson v. United States, 135 S. Ct.
13   2551 (2015), and Welch v. United States, 136 S. Ct. 1257 (2016), may impact the length of his
14   sentence. To efficiently process petitions under Johnson and Welch, and following Eastern District
15   of California General Order 563, the Court hereby appoints the Federal Defender’s Office (“FDO”)
16   to represent Petitioner in this matter pursuant to the provisions of the Criminal Justice Act, Title 18
17   U.S.C. § 3006A(a)(1) and (c). Accordingly,
18          IT IS HEREBY ORDERED that the FDO shall have until September 19, 2016 to file a
19   supplement to Petitioner’s pro se Section 2255 Motion or notify the Court that it does not intend to
20   file such a supplement. Upon the FDO’s filing, the Court will determine whether it is appropriate to
21   issue an order setting a briefing schedule. The Clerk of Court is DIRECTED to add the FDO’s

22   Panel Administrator, Connie Garcia (Connie_Garcia@fd.org), to the service list prior to

23   docketing of this Order.

24
     IT IS SO ORDERED.
25

26      Dated:     August 15, 2016                          /s/ Lawrence J. O’Neill _____
                                                   UNITED STATES CHIEF DISTRICT JUDGE
27

28
